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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
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                                                 Case No. 2:19-CV-10604-AB-MRW
12    THROOP, LLC
13
                      Plaintiff,
                                                 ORDER DISMISSING CIVIL ACTION
14
      v.
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      MICROSOFT CORPORATION, et al.
16
                      Defendants.
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18
           THE COURT having been advised by counsel that the above-entitled action has
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     been settled;
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           IT IS THEREFORE ORDERED that this action is hereby dismissed without
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     costs and without prejudice to the right, upon good cause shown within 60 days, to re-
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     open the action if settlement is not consummated. This Court retains full jurisdiction
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     over this action and this Order shall not prejudice any party to this action.
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25
26   Dated: November 9, 2020          _______________________________________
                                      ANDRÉ BIROTTE JR.
27                                    UNITED STATES DISTRICT JUDGE
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                                                1.
